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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 1

UNITED STATES DISTRICT COURT

District of Columbia

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

V.
JESSICA LOUISE BUSTLE Case Number: CR 21-238-2 TFH
USM Number: 33499-509

,NABEEL KABRIA ESQ.

 

Defendant’s Attomey

Nee Nee ee ee ae

THE DEFENDANT:
{pleaded guilty to count(s) FOUR (4) OF THE INFORMATION

 

L] pleaded nolo contendere to count(s)

 

which was accepted by the court.

CL was found guilty on count(s)

 

after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
40 USC § 5104(e)(2)(G) | Parading, Demonstrating, or Picketing in a Capitol Building 1/6/2021 4
The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
CL] The defendant has been found not guilty on count(s)

 

Count(s) 1-3 C is | are dismissed on the motion of the United States.

 

__ Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

8/4/2021

 

Date of Imposition of Judgment

1 Tegan

 

Signature of Judge

THOMAS F. HOGAN _ US DISTRICT JUDGE

 

Name and Title of Judge

8/26/2021

 
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AO 245B (Rev. 09/19) Judgment in a Criminal Case

Sheet 4—Probation
Judgment—Page 2 of 5
DEFENDANT: JESSICALOUISE BUSTLE
CASE NUMBER: CR 21-238-2 TFH

PROBATION

You are hereby sentenced to probation for a term of:

TWENTY-FOUR (24) MONTHS ON COUNT (4), WHICH WILL INCLUDE 60 DAYS OF HOME CONFINEMENT STARTING
ON SEPTEMBER 1, 2021.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
probation and at least two periodic drug tests thereafter, as determined by the court.
e above g testing condition is suspended, based on the court's determination that you pose a low risk of future
WM The above drug testing condition is suspended, based on the court's determination th pose a low risk of fu
substance abuse. (check if applicable)
4. WM Youmust cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
L] You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
L) You must participate in an approved program for domestic violence. (check if applicable)
L) You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
0. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
fines, or special assessments.

WwWNre

SS

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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Sheet 4A — Probation
Judgment—Page 3 of 5

DEFENDANT: JESSICA LOUISE BUSTLE
CASE NUMBER: CR 21-238-2 TFH

STANDARD CONDITIONS OF SUPERVISION

As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the

court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying

the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. Ifyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

“SS

U.S. Probation Office Use Only

AUS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature Date

 

 
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AO 245B (Rev. 09/19) Judgment in a Criminal Case

Sheet 4B — Probation

Judgment—Page 4 of 5

DEFENDANT: JESSICA LOUISE BUSTLE
CASE NUMBER: CR 21-238-2 TFH

ADDITIONAL PROBATION TERMS

While on supervision, you shall abide by the following mandatory conditions, as well as the standard conditions of
supervision, which are imposed to establish the basic expectations for your conduct while on supervision. The mandatory
conditions include:

1. You must not commit another federal, state, or local crime.

2. You must not unlawfully possess a controlled substance.

3. The mandatory drug testing condition is suspended, based on the court’s determination that you pose a low risk of
future substance abuse.

4. You must make restitution in accordance with 18 USC §§ 3663 and 3663A or any other statute authorizing a sentence
of restitution. You are ordered to make restitution to the US Department of Treasury in the amount of $500.00.
The Court determined you do not have the ability to pay interest and therefore waives any interest or penalties that may
accrue on the balance.

Restitution payments shall be made to the Clerk of the Court for the United States District Court, District of Columbia, for
disbursement to the following victim:

Victim Name Amount of Loss

US Department of Treasury $500.00
1500 Pennsylvania Avenue NW
Washington, DC 20220

You shall comply with the following special conditions:
Restitution Obligation — You must pay the balance of the $500 restitution owed at a rate of no less than $200 each month.
Community Service - You shall perform 40 hours of Community Service as directed and approved by the probation office.

The financial obligations are immediately payable to the Clerk of the Court for the U.S. District Court, 333 Constitution Ave
NW, Washington, DC 20001. Within 30 days of any change of address, you shall notify the Clerk of the Court of the
change until such time as the financial obligation is paid in full.

NOTICE OF APPEAL- Pursuant to 18 USC § 3742, you have a right to appeal the sentence imposed by this Court if the
period of imprisonment is longer than the statutory maximum or the sentence departs upward from the applicable
Sentencing Guideline range. If you choose to appeal, you must file any appeal within 14 days after the Court enters
judgment.

As defined in 28 USC § 2255, you also have the right to challenge the conviction entered sentence imposed if new and
currently unavailable information becomes available to you or, on a claim that you received ineffective assistance of
counsel in entering a plea of guilty to the offense(s) of conviction or in connection with sentencing. If you are unable to
afford the cost of an appeal, you may request permission from the Court to file an appeal without cost to you.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 5 — Cnminal Monetary Penalties

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DEFENDANT: JESSICA LOUISE BUSTLE
CASE NUMBER: CR 21-238-2 TFH

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 10.00 $ 500.00 $ 0.00 $ 0.00 $ 0.00
L1_ The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
L]_ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each pare shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
TOTALS $ 0.00 $ 0.00

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

L]_ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(1 the interest requirement is waived forthe [] fine [] restitution.

CL] the interest requirement forthe [] fine’ [7 restitution is modified as follows:

* Amy, Vicky, and Andy Child Perncprapy Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are aS under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on

or after September 13, 1994, but before April 23, 1996.
